  CASE 0:16-cv-02574-MJD-BRT Document 15 Filed 03/24/16 Page 1 of 13



                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                       Case No. 1:16-cv-20727-JEM (Martinez/Goodman)
------------------------------------------------------------------------------------------------------------
Israel Garcia, individually and on behalf of
a class of similarly situated individuals,

                                          Plaintiff,

                         v.

Target Corporation,

                                       Defendant.


                    DEFENDANT TARGET CORPORATION’S
                                ANSWER
________________________________________________________________________

                                            General Denial

         Defendant Target Corporation, for its answer to the Class Action Complaint (Feb.

27, 2016), denies every allegation except as this pleading admits, qualifies, or otherwise

answers.

         For this pleading’s purposes, “Target” means Defendant Target Corporation.


                                           General Defense


¶1

       Allegation: In an effort to increase its recovery on delinquent accounts,
Defendant, a nationwide retailer, violated federal law by making unauthorized automated
telephone calls using an ATDS (“robocalls”) to the cellular telephones of individuals
throughout the nation.

         Answer: Target denies the allegations in paragraph 1.



                                                       1
 CASE 0:16-cv-02574-MJD-BRT Document 15 Filed 03/24/16 Page 2 of 13



¶2

        Allegation: By effectuating these unsolicited robocalls, Defendant has violated the
called parties’ statutory and privacy rights and has caused the call recipients actual harm,
not only because the called parties were subjected to the aggravation and invasion of
privacy that necessarily accompanies unsolicited calls, but also because the recipients
frequently have to pay their cell phone service providers for receiving the calls.

       Answer: Target denies the allegations in paragraph 2.


¶3

        Allegation: In order to redress these injuries, Plaintiff, on behalf of himself and a
nationwide class, brings suit under the Telephone Consumer Protection Act, 47 U.S.C.
§ 227 (the “TCPA”), which protects the privacy right of consumers to be free from
receiving unsolicited automated telephone calls.

       Answer: Target admits that “Plaintiff . . . brings suit under the Telephone

Consumer Protection Act, 47 U.S.C. § 227 (the ‘TCPA’),” but otherwise denies the

allegations in paragraph 3.


¶4

        Allegation: On behalf of the class, Plaintiff seeks an injunction requiring
Defendant to cease placing unauthorized automated telephone calls using “predictive
dialing” technology to the cellular telephones of individuals who were never a Target
customer, and an award of the greater of actual or statutory damages to the members of
the class, together with costs and reasonable attorneys’ fees, as well as pre judgment
interest from the date of filing this suit.

       Answer: Target denies that Mr. Garcia or the alleged class is entitled to the relief

requested, and therefore denies the allegations in paragraph 4.




                                              2
 CASE 0:16-cv-02574-MJD-BRT Document 15 Filed 03/24/16 Page 3 of 13



                                   Jurisdiction and Venue


¶5

       Allegation: This Court has federal question subject matter jurisdiction under 28
U.S.C. § 1331, as the action arises under the federal Telephone Consumer Protection Act,
47 U.S.C. § 227.

       Answer: Target admits the allegations in paragraph 5.


¶6

        Allegation: Venue is proper in this District pursuant to 28 U.S.C. 1391(b) because
Defendant is registered to conduct business in this District; Defendant maintains offices
in this District; and because a substantial part of the events concerning the conduct at
issue occurred in this District, as the calls at issue were received utilizing technology
located in this District.

       Answer: Target denies the allegations in paragraph 6.


                                               Parties


¶7

       Allegation: Plaintiff is domiciled in Texas.

       Answer: Target lacks knowledge or information sufficient to form a belief about

the truth of the allegations in paragraph 7.


¶8

       Allegation: Defendant Target is a nationwide retailer. It is a Minnesota
corporation with its principal place of business located in Minnesota. Defendant conducts
business in this District, and conducts business elsewhere throughout the United States.

       Answer: Target admits the allegations in paragraph 8.




                                                 3
 CASE 0:16-cv-02574-MJD-BRT Document 15 Filed 03/24/16 Page 4 of 13



                               Common Allegations of Fact


¶9

        Allegation: Defendant is a nationwide retailer that operates department stores
across the country.

       Answer: Target admits the allegations in paragraph 9.


¶ 10

        Allegation: As an ordinary business practice, Defendant obtains the telephone
numbers of its customers which are then used as part of its automated-calling debt
collection operation if the customer’s account becomes delinquent.

       Answer: Target denies that “[a]s an ordinary business practice, Defendant obtains

the telephone numbers of its customers,” but otherwise admits the allegations in

paragraph 10.


¶ 11

       Allegation: In an effort to increase recovery and reduce costs associated with
operating its automated-calling debt collection operation, Defendant does not utilize
procedures necessary to confirm that the telephone numbers to which Defendant makes
robocalls actually belong to the debtors who allegedly provided them prior to Defendant
making such robocalls.

       Answer: Target denies the allegations in paragraph 11.


¶ 12

       Allegation: As a consequence, many of the telephone numbers Defendant receives
in connection with its debt collection operation are inaccurate, or have become
inaccurate, and result in Defendant routinely placing automated telephone calls to
individuals who never provided consent to be called by Defendant.

       Answer: Target denies the allegations in paragraph 12.



                                             4
 CASE 0:16-cv-02574-MJD-BRT Document 15 Filed 03/24/16 Page 5 of 13



¶ 13

        Allegation: In addition to being an aggravating invasion of privacy, unsolicited
automated telephone calls can actually cost recipients money because cell phone users
like Plaintiff have to pay their respective wireless service providers for the calls they
receive, incur a usage deduction, or pay a fixed or variable usage fee, regardless of
whether the call is authorized.

       Answer: Target lacks knowledge or information sufficient to form a belief about

the truth of the allegations in paragraph 13.


¶ 14

        Allegation: For instance, beginning in or about March 2015, in an apparent effort
to collect on a debt that did not belong to Plaintiff, Defendant began calling Plaintiff’s
cellular telephone.

       Answer: Target lacks knowledge or information sufficient to form a belief about

the truth of the allegations in paragraph 14.


¶ 15

        Allegation: Specifically, on multiple occasions, Plaintiff’s cell phone rang,
indicating that he was receiving a phone call from 952-852-0005, a phone number
associated with Defendant’s automated-calling debt collection operation.

       Answer: Target admits that “952-852-0005” is “a phone number associated with

[its] automated-calling debt collection operation,” but otherwise lacks knowledge or

information sufficient to form a belief about the truth of the allegations in paragraph 15.


¶ 16

       Allegation: When Plaintiff would answer the phone calls from Defendant, he
frequently encountered “dead air” and was not connected to a live representative. On a
few occasions Plaintiff heard a long pause before Defendant’s system attempted to
connect him to one of Defendant’s representatives.



                                                5
 CASE 0:16-cv-02574-MJD-BRT Document 15 Filed 03/24/16 Page 6 of 13



       Answer: Target lacks knowledge or information sufficient to form a belief about

the truth of the allegations in paragraph 16.


¶ 17

        Allegation: Upon information and belief, Defendant places these automated debt
collection calls, including the calls made to Plaintiff, en masse using “predictive dialing”
technology, which automatically places calls without human intervention until the called
party answers the call, at which time the automatic dialer attempts to connect the called
party with a human representative. If no human representative is available the called
party will experience a long pause until he or she is connected to a human representative,
or dead air if no representative is available to be connected.

       Answer: Target denies that it “places . . . automated debt collection calls . . . en

masse,” but otherwise admits the allegations in paragraph 17’s first sentence. Target

denies the allegations in paragraph 17’s second sentence.


¶ 18

       Allegation: Since receiving the initial phone call in or about March 2015, Plaintiff
has repeatedly had his privacy invaded by Defendant, receiving the same or similar
telephone calls on his cellular telephone over 60 times from March 2015 through July
2015.

       Answer: Target lacks knowledge or information sufficient to form a belief about

whether “Plaintiff . . . receiv[ed] the same or similar telephone calls on his cellular

telephone over 60 times from March 2015 through July 2015,” and otherwise denies the

allegations in paragraph 18.


¶ 19

       Allegation: On numerous occasions, upon answering the phone, Plaintiff
requested that Defendant stop calling him but no representative would come on the line.




                                                6
 CASE 0:16-cv-02574-MJD-BRT Document 15 Filed 03/24/16 Page 7 of 13



       Answer: Target lacks knowledge or information sufficient to form a belief about

the truth of the allegations in paragraph 19 and, in further answer to those allegations,

denies that a communication made with “no representative . . . on the line” can constitute

a “request” in any meaningful way.


¶ 20

       Allegation: At no time did Plaintiff provide Defendant with consent to place any
telephone calls, including any calls made through an ATDS, to his cellular telephone
number.

       Answer: Target lacks knowledge or information sufficient to form a belief about

the truth of the allegations in paragraph 20.


                                  Class Action Allegations


¶ 21

        Allegation: Plaintiff brings this action pursuant to Rule 23(b)(2) and 23(b)(3) of
the Federal Rules of Civil Procedure on behalf of himself and a national class (the
“Class”) defined as follows: All persons in the United States and its territories who,
within four years prior to the commencement of this litigation, received one or more
telephone calls from Defendant on their cellular telephone through an automated
telephone dialing system where the called party was not the same individual who,
according to Defendant’s records, provided the phone number to Defendant.

       Answer: Target denies that this lawsuit satisfies the referenced rules’ requirements,

and denies that the proposed class is ascertainable, and therefore denies the allegations in

paragraph 21.




                                                7
 CASE 0:16-cv-02574-MJD-BRT Document 15 Filed 03/24/16 Page 8 of 13



¶ 22

        Allegation: Plaintiff will fairly and adequately represent and protect the interests
of the other members of the Class. Plaintiff has retained counsel with substantial
experience in prosecuting complex litigation and class actions. Plaintiff and his counsel
are committed to vigorously prosecuting this action on behalf of the other members of the
Class, and have the financial resources to do so. Neither Plaintiff nor his counsel has any
interest adverse to those of the other members of the Class.

       Answer: Target denies the allegations in paragraph 22’s first sentence. Target lacks

knowledge or information sufficient to form a belief about the truth of the other

allegations in paragraph 22.


¶ 23

         Allegation: Absent a class action, most members of the Class would find the cost
of litigating their claims to be prohibitive and would have no effective remedy. The class
treatment of common questions of law and fact is superior to multiple individual actions
or piecemeal litigation in that it conserves the resources of the courts and the litigants,
and promotes consistency and efficiency of adjudication.

       Answer: Target denies the allegations in paragraph 23.


¶ 24

        Allegation: Defendant has acted and failed to act on grounds generally applicable
to the Plaintiff and the other members of the Class, requiring the Court’s imposition of
uniform relief to ensure compatible standards of conduct toward the members of the
Class, and making injunctive or corresponding declaratory relief appropriate for the Class
as a whole.

       Answer: Target denies the allegations in paragraph 24.


¶ 25

        Allegation: The factual and legal bases of Defendant’s liability to Plaintiff and to
the other members of the Class are the same, resulting in injury to the Plaintiff and to all
of the other members of the Class. Plaintiff and the other members of the Class have all
suffered harm and damages as a result of Defendant’s unlawful and wrongful conduct.

                                              8
 CASE 0:16-cv-02574-MJD-BRT Document 15 Filed 03/24/16 Page 9 of 13




       Answer: Target denies the allegations in paragraph 25.


¶ 26

     Allegation: Upon information and belief, there are hundreds, if not thousands, of
members of the Class such that joinder of all members is impracticable.

       Answer: Target denies the allegations in paragraph 26.


¶ 27

        Allegation: There are many questions of law and fact common to the claims of
Plaintiff and the other members of the Class, and those questions predominate over any
questions that may affect individual members of the Class. Common questions for the
Class include, but are not limited to, the following:
        (a)     Did Defendant place calls using an automatic telephone dialing system?
        (b)     Did Defendant place calls using an automatic telephone dialing system to
                persons who did not previously provide Defendant with consent to receive
                such calls on their respective cellular telephone numbers?
        (c)     Did the unauthorized calls made by Defendant violate the TCPA?
        (d)     Was Defendant’s conduct in violation of the TCPA willful such that the
                members of the Class are entitled to treble damages?
        (e)     Should Defendant be enjoined from continuing to engage in such conduct?

       Answer: Target denies the allegations in paragraph 27.


                                         Count I
           Violation of Telephone Consumer Protection Act (47 U.S.C. § 227)
                             on behalf of Plaintiff and Class


¶ 28

        Allegation: Plaintiff incorporates by reference the foregoing allegations as if fully
set forth herein.

       Answer: For its answer to the allegations in paragraph 28, Target adopts by

reference its statements in answer to the allegations that paragraph 28 adopts by reference.



                                              9
 CASE 0:16-cv-02574-MJD-BRT Document 15 Filed 03/24/16 Page 10 of 13



¶ 29

        Allegation: Defendant made unsolicited telephone calls without prior express
consent using an automatic telephone dialing system to the cellular telephone numbers of
Plaintiff and the other members of the Class. Each such automated call was made using
equipment that had the capacity at the time the calls were placed to store or produce
telephone numbers to be called using a random or sequential number generator and to
dial such numbers without human intervention.

       Answer: Target denies the allegations in paragraph 29.


¶ 30

       Allegation: Defendant has, therefore, violated the TCPA, 47 U.S.C.
§ 227(b)(1)(A)(iii).

       Answer: Target denies the allegations in paragraph 30.


¶ 31

       Allegation: As a result of Defendant’s illegal conduct, the members of the Class
have had their privacy rights violated, have suffered actual and statutory damages and,
under 47 U.S.C. § 227(b)(3)(B), are each entitled to, inter alia, a minimum of $500.00 in
damages for each such violation of the TCPA.

       Answer: Target denies the allegations in paragraph 31.


¶ 32

        Allegation: To the extent Defendant knew or should have known that the members
of the Class did not provide prior express consent to receive the unauthorized robocalls at
issue, the Court should, pursuant to section 227(b)(3)(C), treble the amount of statutory
damages recoverable by Plaintiff and the other members of the Class.

       Answer: Target denies the allegations in paragraph 32.


                                First Additional Defense
                                  Inconvenient Forum

33.    This judicial district is an inappropriate and inconvenient forum for this lawsuit.

                                            10
 CASE 0:16-cv-02574-MJD-BRT Document 15 Filed 03/24/16 Page 11 of 13



34.    The Plaintiff does not reside in this judicial district.

35.    An adequate alternative forum exists in which this case might have been brought.

36.    The Parties’ and witnesses convenience, and the interest of justice, support a

       transfer to a more appropriate and convenient judicial district.


                                Second Additional Defense
                                 Failure to State a Claim

37.    The complaint fails to state a claim upon which relief can be granted.


                                 Third Additional Defense
                                  Prior Express Consent

38.    Target obtained prior express consent before making calls using an automatic

       telephone dialing system or an artificial or prerecorded voice to any cellular

       telephone.


                                  Demand for Jury Trial

       Target demands a trial by jury of each issue so triable.


                                      Prayer for Relief

       Wherefore Target respectfully prays for a judgment in its favor, for its costs and

disbursements herein, and for such other and further relief as may be just and equitable.




                                              11
 CASE 0:16-cv-02574-MJD-BRT Document 15 Filed 03/24/16 Page 12 of 13



March 24, 2016.
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                                 12
 CASE 0:16-cv-02574-MJD-BRT Document 15 Filed 03/24/16 Page 13 of 13



                                     Certificate of Service

         I hereby certify that a true and correct copy of the foregoing was served by

CM/ECF on March 24, 2016, on all counsel or parties of record on the Service List

below.


March 24, 2016.
                                                DYKEMA GOSSETT PLLC

                                                /s/ Brian Melendez
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